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Laspd Communications

From: Laspd Communications <laspd@mylegaladvocates.org>
Sent: Monday, February 21, 2022 12:30 PM

To: ‘info@cksfin.com'

Subject: ID 11947, Angela McCarty

Attachments: 11947_POA.pdf

Legal Advocates for Seniors and People with Disabilities®

180 North Michigan Avenue, Suite 908, Chicago, IL 60601
Phone: 312-263-1633 Toll-Free: 866-405-3328 Fax: 312-263-1637
Website: www.mylegaladvocates.org
E-Mail: info@mylegaladvocates.org

VIA EMAIL
February 21, 2022

CKS Financial
505 Independence Pkwy Ste 300
Chesapeake, VA 23320-5178

Re: Angela McCarty
ae

LASPD file number: | 1947
Dear Sir or Madam:

Please be advised that we represent Angela McCarty regarding your firm’s attempts to collect the above-
referenced debt.

Legal Advocates for Seniors and People with Disabilities (LASPD) is a nationwide program that provides
debt-related legal services to seniors and people with disabilities. These individuals receive a fixed and/or
limited income, protected by Federal laws, and LASPD advises them of their rights under these laws.
LASPD’s goal is to persuade creditors and third party collectors to cease collection efforts, including filing a
lawsuit, regarding debts such as the one referenced above.

We ask that you, or the creditor you represent, review the attached affidavit from Ms. McCarty . As you will
see, Ms. McCarty ‘s income is protected from levy, attachment or garnishment by Federal law. Moreover,
there is no income available for any payment arrangement or settlement. Accordingly, our client refuses to pay
any debt that you are attempting to collect and we request that you cease all further collection activities and
direct all future communications to our office. Additionally, please be advised that our client disputes this
debt.

t EXHIBIT

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In closing, I am certainly prepared to furnish you with other appropriate information that you may require. If
you have any questions, please contact LASPD at 312-263-1633.

Very truly yours,

Donald Leibsker
Legal Director
Enc.

Click to download or view attachments
11947-POA. pdf

Please do not reply to this email directly. To ensure a prompt and secure response,
please send all email correspondence to info@mylegaladvocates.org.

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CONSENT FORM FOR LEGAL REPRESENTATION

Please allow this form to express my (our) formal consent for Legal Advocates for
Seniors and People with Disabilities (LASPD) to provide certain legal representation on
my (our) behalf with respect to my (our) debts. LASPD, through its agents, has authority
to communicate with all creditors on my (our) behalf. All communication regarding my
(our) debts from any and all of my (our) creditors shall be made only through the agents
of LASPD. This consent form shall be valid until revoked in writing by the undersigned.

Angela F. MSCar vy

FIRST CLIENT’S NAME SECOND CLIENT’S NAME
G
deel Z_(%ghe
“FIRST CLIENT’S SECOND CLIENT’S
SIGNATURE . SIGNATURE
$-Q-2/
DATE SIGNED DATE SIGNED

Please include a COPY of just ONE of the following SIGNED documents:
l. Driver’s License OR
2. State 1D. Card OR
3. Social Security Card OR

4. Medicare Card

REMEMBER as YOU JUST NEED TO SEND ONE OF THE ABOVE.

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Please help us to help you.
profile is by filling out thi
greatly help our communi

AFF

(DAVIE OF INCOME AND EXPENSES

The best way to give creditors a full understanding of your financial
is affidavit as completely, neatly and accurately as possible. This will
cation with your creditors. Thank you.

A. SOURCES OF

INCOME AND GROSS MONTHLY AMOUNTS — MONEY

RECEIVED BY YOU —
‘(BEFORE DEDUCTIONS)

SOURCE OF MOUNT SOURCE OF AMOUNT
INCOME INCOME
Social Security Retirement Wage Income
Supplemental Security Unemployment
Income (SSI) Compensation
Social Security Disability Rental Income
Veterans’ Benefits Interest Income
Workers’ Compensation Other Income (if any,
please describe)
Public Aid (for example,
Food Stamps)
Alimony
Child Support
Pension Benefits
TOTAL INCOME

12/29/2016

Over >

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AFFIDAVIT OF INCOME AND EXPENSES (Continued)

B. MONTHLY EXPENSES — MONEY YOU PAY TO OTHERS ~

TYPE OF MONTHLY | ‘|. TYPE OF | MONTHLY
EXPENSE AMOUNT EXPENSE AMOUNT
Rent/Mortgage Medical +
Please circle one. :
Average Utilities (gas,
electric, telephone, cell
hone, water, etc.)
Real Estate Taxes. Be Dental

sure to divide the yearly
amount by 12.

Religious Affiliation
Donations

Food

Car Payment(s)
Health Insurance
Car Insurance
Life Insurance
Car: Gas & Maintenance
Home/Renter’s Insurance

Other Transportation Other Expenses (List)
Costs

Reasonable expenses to
support a child or parent

TOTAL EXPENSES

Have you ever co-signed a financial document? In other words, have you ever signed a
document with another person where they, and not you, were going to get something?
If yes, please give us the name of this ‘person, the name of the creditor and the type of debt & gE.
a home loan or a car loan):

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